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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

DR. JACK WILSON STAMPS, JR.,                   §
                                               §
                     Plaintiff,                §
                                               §
v.                                             §           SA-24-CV-294-HJB
                                               §
UNIVERSITY OF TEXAS SYSTEM,                    §
and UNIVERSITY OF TEXAS                        §
AT SAN ANTONIO,                                §
                                               §
                     Defendants.               §

                                  ORDER FOR
                         SCHEDULING RECOMMENDATIONS

       In accordance with the Court’s ruling at the Status Conference held on January 17, 2025,

it is hereby ORDERED that the parties must submit their Joint Scheduling Recommendations on

or before January 31, 2025.

       The Scheduling Recommendations must include the following deadlines:

       1.     Initial Disclosure: (the suggested period being 30 days from the date of this
              Order/February 18, 2025). The parties must make initial disclosures as required
              by Federal Rule of Civil Procedure 26(a)(1). To the extent a defendant knows the
              identity of a responsible third party contemplated by Texas Civil Practices &
              Remedies Code § 33.004, such identity is subject to disclosure under Rule
              26(a)(1)(A)(i).

       2.     Alternative Dispute Resolution (“ADR”) Report. On or before (the suggested
              period being 30 days from the date of this Order/February 18, 2025), the parties
              must submit a Joint Report indicating their agreement regarding a method of ADR,
              an ADR provider, the method of compensating the provider, and a date for
              completing the ADR proceeding no later than the date set out in Paragraph 8 below.
              See Local Rule CV-88(a).

       3.     Offer of Settlement: Parties asserting claims for relief must submit a written offer
              of settlement to opposing parties on or before (the suggested period being 60 days
              from the date of this Order/March 18, 2025), and each opposing party must
              respond, in writing on or before (the suggested period being 74 days from the date
              of this Order/April 1, 2025).
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        4.      Amend Pleadings or Join Parties: On or before (the suggested period being 60
                days from the date of this Order/March 18, 2025), the parties must file any motion
                seeking leave to amend or join parties. To the extent it may apply in this case, the
                deadline for Defendant(s) to file a motion to designate responsible third parties,
                pursuant to Texas Civil Practices & Remedies Code § 33.004(a), is (same as
                above/March 18, 2025).

        5.      Designation of Experts: Parties asserting claims for relief must file their
                designation of testifying experts and serve on all parties, but not file the materials
                required by Federal Rule of Civil Procedure 26(a)(2)(B) on or before (the standard
                period being 90 days from the date of this Order/April 17, 2025).

        6.      Designation of Experts: Parties resisting claims for relief must file their
                designation of testifying experts and serve on all parties, but not file the materials
                required by Federal Rule of Civil Procedure 26(a)(2)(B) on or before (the standard
                period being 120 days after the date of the Order/May 19, 2025).

        7.      Discovery: The parties must initiate all discovery procedures in time to complete
                discovery on or before (the suggested period being 180 days from the date of this
                Order/July 16, 2025).
        8.      ADR: The parties must complete mediation or other ADR in this case on or before
                (the suggested period being 14 days after the discovery deadline/July 30, 2025).
        9.      Expert Dispute Motions: On or before (the standard period being 30 days after
                the discovery deadline/August 15, 2025), the parties must file any motions to
                challenge or exclude expert witnesses.
        10.     Dispositive Motions: On or before (the standard period being 45 days after the
                discovery deadline/September 2, 2025), parties must file any dispositive motions,
                including motions for summary judgment on all or some of the claims.

        The trial dates in this case have already been set by a separate Order. 1 (See Docket Entry

37.)

        Although the Proposed Scheduling Recommendations will be considered by Court, the

setting of all dates is within the discretion of the Court.



        1
         The Rule 16 pretrial documents filing deadline is December 19, 2025, the pretrial
conference is set January 5, 2026, and the jury selection and trial are set January 12, 2026. (See
Docket Entry 38.)
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It is so ORDERED.

SIGNED on January 21, 2025.




                                        Henry J. Bemporad
                                        United States Magistrate Judge




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